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 7

 8                           UNITED STATES DISTRICT COURT

 9                                    DISTRICT OF NEVADA

10    DAVID MICHAEL SMITH, an individual,                       Case Number:
                                                           2:21-cv-01039-RFB-EJY
11                              Plaintiff,

12            vs.

13    CR&S CARSON CITY, LLC, DBA
      CARSON CITY NISSAN, a Foreign Limited
14    Liability Company; and EQUIFAX
      INFORMATION SERVICES LLC, a Foreign
15    Limited-Liability Company,

16                              Defendants.

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           NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE PURSUANT TO
18           FED. R. CIV. P. 41(a) AS TO DEFENDANT CR&S CARSON CITY, LLC

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 1         Pursuant to Fed. R. Civ. P. 41(a), Plaintiff, David Michael Smith, by and through counsel,

 2 Cogburn Law, hereby requests the above-entitled action against Defendant CR&S Carson City,

 3 LLC, dba Carson City Nissan, be voluntarily dismissed with prejudice.

 4         Dated this 14th day of September, 2021.

 5                                              COGBURN LAW

 6

 7                                              By:       /s/Erik W. Fox
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11

12                                 CERTIFICATE OF SERVICE

13         I hereby certify that I electronically filed the foregoing NOTICE OF VOLUNTARY

14 DISMISSAL WITH PREJUDICE PURSUANT TO FED. R. CIV. P. 41(a) AS TO

15 DEFENDANT CR&S CARSON CITY, LLC with the Clerk of the Court for the United States

16 District Court by using the court’s CM/ECF system on the 14th day of September, 2021.

17                I further certify that all participants in the case are registered CM/ECF users and

18 that service will be accomplished by the CM/ECF system.

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20                                               /s/Katie Johnson
                                                An employee of Cogburn Law
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